       Case 2:07-cr-00515-WBS Document 251 Filed 10/18/10 Page 1 of 4


 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE:(916) 649-2006
 4 FAX: (916) 920-7951
   E MAIL: jaygreiner@midtown.net
 5
     ATTORNEY FOR DEFENDANT
 6   JUAN VILLA, JR.
 7
 8
                  IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      )               CR.-S-07-515-WBS
                                    )
12        PLAINTIFF,                )               STIPULATION AND
                                    )               ORDER CONTINUING THE STATUS
13        v.                        )               CONFERENCE TO
                                    )               MONDAY, JANUARY 10, 2011
14   JORGE CHAVEZ. et al,           )
                                    )
15        DEFENDANT.                )
     _______________________________)
16
17         The United States of American, represented by Assistant United States
18   Attorney, Mr. Michael Beckwith, and defendant Juan Villa, represented by attorney ,
19   Mr. James R. Greiner, hereby agree and stipulate that the status conference set for
20   Monday, October 18, 2010, may be vacated off the Court’s calendar and
21   rescheduled for Monday, January 10, 2011, at 8:30 a.m..
22         To date, the government has produced 14 CD’s, 8 audio tape recordings (most
23   all of them in the Spanish language), and one video tape recording . Counsel for
24   defendant Juan Villa, Jr., has just been recently been appointed as of August 28, 2009
25   (See Docket Entry # 170 and whereas the government filed the criminal complaint on
26   October 30, 2007, regarding a criminal investigation which the government represents
27   started on or about August 2005 (See Criminal Complaint, page 4, Background of
28                                              1
           Case 2:07-cr-00515-WBS Document 251 Filed 10/18/10 Page 2 of 4


 1   Investigation, CI-1, first sentence of first paragraph). Newly appointed counsel for
 2   defendant Juan Villa, Jr., needs a reasonable amount of time to review the discovery
 3   to date, to meet and review the discovery with the defendant, to due reasonable
 4   investigation in the case, all of which is at least some four (4) years behind the
 5   government and two (2) years behind the other defense counsel in the case.
 6            Thus, all parties agree and stipulate that a continuance is reasonably warranted
 7   under the circumstances of the case and as it regards newly appointed counsel for
 8   defendant Juan Villa, Jr..
 9            The Court’s Courtroom Deputy, Karen Kirksey Smith, was contacted and the
10   Court is available on Monday, January 10, 2011.
11               EXCLUSION OF TIME UNDER THE SPEEDY TRIAL ACT
12            The parties agree and stipulate that with new counsel for defendant Juan Villa,
13   Jr., having been relatively recently appointed, the interests of justice in granting this
14   reasonable request for a continuance outweighs all other interests in this case for a
15   speedy trial in this case, pursuant to Title 18 section 3161 (h)(7)(B)(iv),
16   corresponding to Local Code T-4 (to allow counsel time to prepare). The parties
17   stipulate and agree that the interests of justice served by granting this continuance
18   outweigh the best interests of the public, the government and the defendants in a
19   speedy trial. (Title 18 section 3161 (h)(7)(B)(iv), corresponding to Local Code T-4
20   (to allow counsel time to prepare.). In addition, the reasonable continuance will allow
21   the parties to in good faith continue to explore possible resolution of this case short of
22   trial which would be a cost savings to both this Court and the government allowing
23   both the Court and the government to use its valuable resources on other matters.
24
25   ///
26   ///
27
28                                                 2
       Case 2:07-cr-00515-WBS Document 251 Filed 10/18/10 Page 3 of 4


 1         Respectfully submitted:
 2                                    BENJAMIN WAGNER
                                      UNITED STATES ATTORNEY
 3
                                      /s/ Michael Beckwith, by in person authorization
 4
     DATED: 10-13-10                  _____________________________________
 5                                    Michael Beckwith
                                      ASSISTANT UNITED STATES ATTORNEY
 6                                    ATTORNEY FOR PLAINTIFF
 7
 8
     DATED: 10-13-10                  /s/ James R. Greiner
 9                                    ___________________________________
                                      James R. Greiner
10                                    Attorney for defendant Juan Villa, Jr
11                                            ORDER
12         The Court, having received, read, and considered the stipulation of the parties,
13   and good cause appearing therefrom, adopts the stipulation of the parties in its entirety
14   as its order. Based on the stipulation of the parties and the recitation of facts
15   contained therein, the Court finds that this case is unusual and complex and that it is
16   unreasonable to expect adequate preparation for pretrial proceedings and trial itself
17   within the time limits established in 18 U.S.C. § 3161. In addition, the Court
18   specifically finds that the failure to grant a continuance in this case would deny
19   defense counsel reasonable time necessary for effective preparation, taking into
20   account the exercise of due diligence. The Court finds that the ends of justice to be
21   served by granting the requested continuance outweigh the best interests of the public
22   and the defendants in a speedy trial.
23         The Court orders that the time from the date of the parties' stipulation, October
24   18, 2010, to and including January 10, 2011, shall be excluded from computation
25   of time within which the trial of this case must be commenced under the Speedy Trial
26   Act, pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii) and (iv), and Local Code T4
27   (reasonable time for defense counsel to prepare).
28                                                3
       Case 2:07-cr-00515-WBS Document 251 Filed 10/18/10 Page 4 of 4


 1         It is further ordered that the Monday, October 18, 2010, status conference
 2   shall be continued until Monday, January 10, 2011, at 8:30 a.m.
 3
 4
 5         FOR GOOD CAUSE SHOW, IT IS SO ORDERED.
 6
 7
 8   DATED: October 15, 2010
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                            4
